USCA Case #23-3228        Document #2031350            Filed: 12/11/2023       Page 1 of 1
                  Supreme Court of the United States
                         Office of the Clerk
                     Washington, DC 20543-0001
                                                                  Scott S. Harris
                                                                  Clerk of the Court
                                                                  (202) 479-3011
                                  December 11, 2023


Clerk
United States Court of Appeals for the District of
Columbia Circuit
333 Constitution Avenue, NW
Washington, DC 20001


      Re: United States
          v. Donald J. Trump
          No. 23-624
          (Your No. 23-3228)


Dear Clerk:

     The petition for a writ of certiorari in the above entitled case was filed on
December 11, 2023 and placed on the docket December 11, 2023 as No. 23-624.




                                        Sincerely,

                                        Scott S. Harris, Clerk

                                        by

                                        Laurie Wood
                                        Deputy Clerk
